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13
                                UNITED STATES DISTRICT COURT
                           FOR THE CENTRAL DISTRICT OF CALIFORNIA
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15    KATHY LIRA, individually and on Case No. 8:18-cv-422-AG-JDE
      behalf of all others similarly situated,
16

17    Plaintiff,                                    Hon. Andrew J. Guilford
18
      v.
19                                         ORDER ON STIPULATION TO
20    BUMP BOXES, INC., an Illinois EXTEND TIME TO RESPOND TO
      corporation and DOES 1-10, inclusive COMPLAINT
21

22    Defendants.
23
            The Court, having considered the Stipulation to Extend Time to Respond to
24

25   Complaint filed by Kathy Lira and Bump Boxes, Inc. and finding GOOD CAUSE to grant
26
     the relief sought, hereby orders as follows:
27
            Bump Boxes, Inc.’s response to the Complaint shall be due on June 1, 2018.
28




                        Order on Stipulation to Extend Time to Respond to Complaint
                                                      1
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     NO FURTHER CONTINUANCES WILL BE GRANTED WITHOUT A
 2   FURTHER VERY STRONG SHOWING OF GOOD CAUSE.
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 5   Dated:      May 02, 2018
 6
                                                   United States District Judge
                                                   Andrew J Guilford
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                      Order on Stipulation to Extend Time to Respond to Complaint
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